

Lenore C. v Stephen C. (2023 NY Slip Op 02081)





Lenore C. v Stephen C.


2023 NY Slip Op 02081


Decided on April 25, 2023


Appellate Division, First Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered: April 25, 2023

Before: Kapnick, J.P., Kern, Friedman, Gesmer, Pitt-Burke, JJ. 


Index No. 310833/17 Appeal No. 95 Case No. 2022-00718 

[*1]Lenore C., Plaintiff-Respondent,
vStephen C., Defendant-Appellant. 


The Levoritz Law Firm, New York (Yonatan S. Levoritz of counsel), for appellant.
Phillips Nizer LLP, New York (Elliot Wiener of counsel), for respondent.



Appeal from order, Supreme Court, New York County (Kathleen C. Waterman-Marshall, J.), entered February 8, 2022, which, to the extent appealed from as limited by the briefs, granted plaintiff wife's application for authorization to enroll the parties' child in the Second Nature wilderness program and directed that defendant husband pay 94% of the costs associated with the program, unanimously dismissed, without costs, as moot.
The appeal has been rendered moot by the child's attendance at and completion of the program (see Saratoga County Chamber of Commerce v Pataki , 100 NY2d 801,
810-811 [2003]). The exception to the mootness doctrine does not apply (see Matter of Hearst Corp. v Clyne,  50 NY2d 707, 714-715 [1980]).THIS CONSTITUTES THE DECISION AND ORDER
OF THE SUPREME COURT, APPELLATE DIVISION, FIRST DEPARTMENT.
ENTERED: April 25, 2023








